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                             EXHIBIT B
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD.,

   Plaintiff,

   v.

   CIRCUITRONIX LLC,

   Defendant.
   ____________________________________/

          DEFENDANT CIRCUITRONIX, LLC’S CORRECTED STATEMENT OF
         MATERIAL FACTS ADDING ECF REFERENCES TO CITED DOCUMENTS

           Pursuant to Federal Rule of Civil Procedure 56 and Southern District of Florida Local Rule

   56.1, Defendant, Circuitronix LLC (“CTX”), hereby files this corrected Statement of Material

   Facts in support of its motion for summary judgment, merely to add ECF numbers (“DE”) to

   comply with this Court’s preferred method for referencing documents in summary judgment

   motions. This correction makes no substantive changes to the previously filed statement of

   material facts (DE 177).

                        RESPONSES TO PLAINTIFF’S CONTENTIONS1

           1.     CTX is incorporated in Florida and has its principal office in Fort Lauderdale,

   Florida. DE 26 (Third Am. Compl. (“TAC”)) at ¶ 5; DE 34 (Answer) at ¶ 5.

           2.     Circuitronix (Hong Kong) Ltd. (“CTX-HK”), is a related corporation incorporated

   in Hong King with its principal place of business in Hong Kong. Statement of Material Facts




   1
    Capitalized terms not otherwise defined herein shall have the same meaning assigned in CTX’s
   contemporaneously filed Motion for Summary Judgment.
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   (“SMF”) Exhibit 4 (DE 177-4) - Excerpts of Transcript of Huang Sulan Deposition (“Tracy Huang

   Dep.”) at 26:5-8.

          3.      CTX and CTX-HK are separate corporate entities that are independently structured,

   run, and operated. SMF Exhibit 2 (DE 177-2) - Excerpts of Transcript of Lina Ochoa Deposition

   at 14:21-22; SMF Exhibit 3 (DE 177-3) - Excerpts of Transcript of Nicole Donaldson Deposition

   at 217:17-218:22.

          4.      Jiangmen Benlida Printed Circuit Co., Ltd. (“Benlida”) is a Chinese limited liability

   company engaged in the manufacture and sale of printed circuit boards. DE 26 at ¶ 1; DE 34 at

   ¶¶ 9-10; DE 43 at ¶¶ 9-10.

          5.      ROK Printed Circuit Co., Ltd. (“ROK”), a Benlida affiliate, is a Chinese limited

   liability company engaged in the manufacture and sale of PCBs. DE 26 at ¶ 3; DE 34 at ¶ 3.

          6.      On March 1, 2012, CTX entered into a written contract with Benlida and ROK for

   the manufacture of PCBs, entitled Standard Manufacturing and Representation Agreement. See

   Ex. A to SMF Exhibit 1 (DE 177-1) – Declaration of Christina H. Martinez (“Martinez Decl.”)

   (“Manufacturing Agreement”).

          7.      CTX-HK was not a party to the Manufacturing Agreement. See Ex. A to DE 177-

   1.

          8.      On January 1, 2014, CTX signed a letter for Benlida in which CTX authorized

   CTX-HK “to place orders to [Benlida] on [CTX’s] behalf” and in which CTX agreed to “assume[]

   all [CTX-HK] debts due on those orders.” Ex. B to DE 177-1 (the “Business Authorization”)

   (emphasis added).




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            9.    On July 21, 2016, the parties signed a Letter Agreement that formally added CTX-

   HK as a party to the Manufacturing Agreement between CTX, Benlida, and ROK. Ex. C to DE

   177-1 (the “Letter Agreement”).

            10.   Among other things, the Letter Agreement provided that the Manufacturing

   Agreement would remain in full force and effect, and that the two Agreements would “supersede

   any and all prior agreements or understandings between [CTX] and [Benlida and ROK].” Ex. C

   to DE 177-1 at 3, ¶ 6.

            11.   On October 5, 2018, Benlida requested that CTX sign a new agreement requiring

   it to make payments for CTX-HK. Ex. D to DE 177-1 (email attaching proposed “The Letter of

   Authorization for Payment Entrust”); Tracy Huang Dep. (DE 177-4) at 43:2-9.

            12.   CTX declined and never signed the proposed agreement. Ex. D to DE 177-1 (email

   attaching proposed “The Letter of Authorization for Payment Entrust”); Tracy Huang Dep. at

   221:2-9.

            13.   As of December 31, 2019, Benlida’s account books reflected that CTX owed

   Benlida “USD 0.00” and that CTX was due “USD 75,684,83.” Ex. E to DE 177-1 (Confirmation

   for Audit Purposes).

            14.   On January 19, 2021, Benlida filed the original complaint in this matter, requesting

   damages of over $13.5 million and claiming that CTX breached the Manufacturing Agreement by

   failing to pay for hundreds of invoices issued in 2018 and 2019. DE 1; see also Roger Wu Dep.

   (DE 177-5) at 239:7-15.

            15.   CTX-HK was not named as a defendant and is not a party in this case. See id.;

   DE 26.




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          16.     Benlida’s initial disclosures demanded judgment in the amount of $13,655,335.93

   against CTX but did not include a computation of damages or otherwise provide any explanation

   for how it arrived at that number or why it considered the TAC invoices unpaid (Ex. F to DE 177-

   1 (Benlida’s Initial Disclosures)), despite CTX having made payments to Benlida for those

   invoices (SMF Exhibit 6 (DE 177-6) - Declaration of Lina Ochoa (“Ochoa Decl.”) ¶ 3).

          17.     The TAC individually enumerates 419 invoices that Benlida alleges it issued “to

   Circuitronix” between 2018 and 2019. DE 26, ¶¶ 13-431.

          18.     Benlida concedes that 170 of the 419 total invoices were actually issued to CTX-

   HK. Ex. G to DE 177-1 (CTX’s Request for Admissions); Ex. H to DE 177-1 (Declaration of

   Huang Hanchao); SMF Exhibit 5 (DE 177-5) – Excerpts of Transcript of Wu Yukun Deposition

   (“Roger Wu Dep.”) at 36:18-37:10.

          19.     The invoices identified in paragraphs 261 to 431 of the TAC, each of which are

   referenced using the designation “BLDCCT-HK” or “CCT-BLD-[invoice number](HK)” were

   issued by Benlida to CTX-HK. Ex. F to DE 177-1 (CTX’s Request for Admissions); Roger Wu

   Dep. (DE 177-5) at 34:1-37:10.

          20.     The invoices issued to CTX which are listed in the TAC span approximately one

   year, from December 29, 2018 to December 18, 2019, with the earliest invoice CTX supposedly

   failed to pay issued on December 29, 2018. See Roger Wu Dep. (DE 177-5) at 32:4-34:6; 37:24-

   40:2; DE 23 (TAC), ¶ 13 (December 29, 2018), ¶ 259 (December 18, 2019); Tracy Huang Dep.

   (DE 177-4) at 42:6-24.

          21.     Benlida claims its shipment amount to CTX between December 18, 2018 and July

   1, 2020 totaled $10,058,195.91. Ex. I to DE 177-1 at ¶ 14 (Benlida’s Revised Response to

   Interrogatory 14).



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          22.     Benlida contends that CTX paid Benlida $12,240,285.87 during that same

   December 18, 2018 to July 1, 2020 period. Ex. I to DE 177-1 at ¶ 14 (Benlida’s Revised Response

   to Interrogatory 14).

          23.     CTX made payments on the invoices issued to it in the TAC and memorialized

   those payments in emails regularly transmitting “payment details” to Benlida, which identified

   payments CTX had made and the corresponding invoices to which CTX intended its payments to

   be applied. SMF Exhibit 6 (DE 177-6) – Declaration of Lina Ochoa (“Ochoa Decl.”) at ¶¶ 3-6;

   Tracy Huang Dep. (DE 177-4) at 261:7-262:24; Roger Wu Dep. (DE 177-5) at 192:8-20;

   Donaldson Dep. (DE 177-3) at 85:2-86:1.

          24.     Benlida’s Sales Director admitted that she understood CTX’s Payment Details to

   be directing that the payments were for the invoices listed in the Payment Details. Tracy Huang

   Dep. (DE 177-4) at 253:6-254:3.

          25.     Benlida did not inform CTX that it disagreed with CTX’s direction of payment to

   particular invoices or otherwise advise CTX that it was applying payment to older debts. Ochoa

   Decl. (DE 177-6) at ¶ 7; Tracy Huang Dep. (DE 177-4) at 324:11-325:14; 326:5-327:3; Roger Wu

   Dep. (DE 177-5) at 69:2-16.

          26.     It was not until May 18, 2023—more than a year after CTX served its First Set of

   Interrogatories—that Benlida claimed that it had used a “first in, first out” (“FIFO”) methodology

   to apply payments CTX made on TAC invoices to older debts. Ex. J to DE 177-1 (CTX’s First

   Set of Interrogatories); Ex. K to DE 177-1 (Benlida’s May 18, 2023 Unsworn Interrogatory

   Responses) at ¶ 1; Ex. L to DE 177-1 (Benlida’s May 24 Sworn Corrected Interrogatory

   Responses).




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             27.    Benlida revealed during discovery that it kept a combined accounts receivables

   book for both CTX and CTX-HK such that it applied payments from CTX to debts of CTX-HK as

   well. See Roger Wu Dep. (DE 177-5) at 192:8-193:7; Tracy Huang Depo. (DE 177-4) at 247:5-

   249:8, 254:4-255:17; 324:11-20.



   Dated: June 9, 20232                                   Respectfully submitted,


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       This version with ECF citations is submitted pursuant to a notice of filing on June 20, 2023.
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of

   Notices of Electronic Filing generated by CM/ECF on June 9, 20233 as filed with the Clerk of the

   Court using CM/ECF.



                                        By: /s/ Christina H. Martinez ___
                                                Christina H. Martinez




   3
    The present version adding ECF citations to the referenced supporting materials is being served
   on June 20, 2023.
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